                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                  1:07-cr-32


UNITED STATES OF AMERICA                          )
                                                  )
Vs.                                               )             ORDER
                                                  )
BRYAN LEMONT WILSON.                              )
______________________________________            )


       THIS CAUSE coming on to be heard before the undersigned, pursuant to two letters

sent by the defendant to the undersigned and to the District Court. Those letters were filed

in the court file on August 20, 2007 and August 24, 2007. In the letters, the defendant

appears to make two motions, one motion being for the substitution of counsel to represent

the defendant and the other motion being a motion to be allowed to withdraw his plea of

guilty. The undersigned determined to first hear the motion for substitution of counsel and

then, depending upon the result of the hearing of that motion, to hear the motion of the

defendant to be allowed to withdraw his plea of guilty. Upon the call of the matter, it

appeared that the defendant was present and that his counsel, Ronald C. True was present,

and that the Government was represented by Assistant United States Attorney Tom Ascik and

from the statements of the defendant and his counsel, the court makes the following findings:

       Findings. In the letter of the defendant, the defendant makes accusations against Mr.

True regarding the entry of his plea of guilty which accuse Mr. True of misconduct. At the

call of this matter, Mr. True advised the court that due to the accusations made by the

defendant he and the defendant could not communicate whatsoever in regard to the matter



        Case 1:07-cr-00032-MR         Document 88        Filed 09/18/07     Page 1 of 4
and stated he did not wish to communicate further with the defendant. Mr. True further

stated that the Presentence Report had not been prepared by the United States Probation

Office in regard to this matter and as a result it was his opinion that the motion of the

defendant was timely and he further requested that the court order the appointment of

substitute counsel to represent the defendant. The court made inquiry of the defendant as to

whether or not he wished to be heard in regard to his reasons for requesting the substitution

of counsel. The defendant complained that Mr. True would not answer telephone calls of his

mother. The defendant further stated he wanted to see the evidence that the government had

to present against him.

       Discussion: An indigent defendant has no right to have a particular lawyer represent

him or her and can demand a different appointed attorney only with good cause. United

States v Allen, 789 F.2d 90, 92 (1 st Cir. 1986). The determination of whether or not the

motion for substitution of counsel should be granted is within the discretion of the trial court

and the court is entitled to take into account the countervailing state interest in proceeding

on schedule. Morris v Slappy, 461 U.S. 1 (1983). Considering the motion herein, the

undersigned has considered the following factors: (1) Timeliness of the motion; (2) Inquiry

as to the reasons why the defendant does not wish for Mr. True to represent him further; and

(3) Whether or not there is such a conflict between the defendant and Mr. True that is so

great that it has resulted in a total lack of communication preventing an adequate defense.

United States v Gallop, 838 F.2d 105 (4 th Cir. 1988).



                                               2


        Case 1:07-cr-00032-MR          Document 88       Filed 09/18/07      Page 2 of 4
       Considering the statements of Mr. True regarding the timeliness of the defendant’s

request and further considering that it appears that the defendant will also be requesting that

he be allowed to withdraw his plea of guilty, it appears that the defendant’s request is timely

and therefore this factor will be weighed in favor of granting the defendant’s request for

substitution of counsel.

       The undersigned inquired as to the reasons for the conflict between the defendant and

his attorney. Based upon the accusations made by the defendant against Mr. True, the

undersigned finds that Mr. True has good and valid reasons for not wishing to communicate

with the defendant any further in regard to this matter. The accusations of the defendant are

serious and would cause any counsel appointed for the defendant, who was accused of such

acts, to desire to be allowed to be released from any obligation to represent the defendant.

The reason given by the defendant that being that Mr. True would not communicate with the

defendant’s mother is not a valid reason for the substitution of counsel. Indeed, it shows

ethical conduct on the part of Mr. True.

       The court has further examined the matter to determine whether or not there is such

conflict between the defendant and Mr. True that there is a total lack of communication

between them preventing an adequate defense. Based upon the forthright statements of Mr.

True it appears that such total lack of communication exist because of the accusations made

by the defendant.

       After weighing all of the evidence in regard to the above referenced factors, it appears



                                              3


        Case 1:07-cr-00032-MR         Document 88      Filed 09/18/07     Page 3 of 4
that good cause has been shown for the granting of the motion of the defendant for

substitution of counsel.

                                         ORDER

       IT IS, THEREFORE, ORDERED:

       1.     That the motion of the defendant for substitution of counsel is hereby

ALLOWED;

       2.     That the defendant’s attorney Ronald C. True is hereby allowed to withdraw

as attorney for the defendant and he is released from any obligation to represent the

defendant any further in regard to this matter;

       3.     That the Federal Defender appoint substitute counsel for the defendant;

       4.     That the motion of the defendant to be allowed to withdraw his plea of guilty

is hereby CONTINUED and will be heard after substitute counsel has been appointed to

represent the defendant.




                                              Signed: September 18, 2007




                                             4


        Case 1:07-cr-00032-MR       Document 88       Filed 09/18/07   Page 4 of 4
